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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

UNITED STATES OF AMERICA,

                      Plaintiff,

                                                    Civil Action No. 1:18-cv-643(AJT/JFA)

APPROXIMATELY $6,000.00 U.S.
CURRENCY,

                      Defendant.



                                            ORDER


       This matter is before the Court on the Report & Recommendation [Doc. No. 11] ofthe

Magistrate Judge recommending that Plaintiffs' Request for Default Judgment and Order of

Forfeiture [Doc. No. 8] be granted; that default judgment be entered in favor of the United States

of America and against the defendant currency; and that an order of forfeiture be entered

declaring that the defendant currency be forfeited to the United States of America pursuant to 18

U.S.C. § 881(a)(6). The Magistrate Judge advised the parties that objections to Report and

Recommendations must be filed within fourteen days of service and that failure to object waives

appellate review. No objections have been filed. Having conducted a de novo review of the

record, the Court adopts and incorporates the findings and recommendations of the Magistrate

Judge. Accordingly, it is hereby

       ORDERED that the Report & Recommendation [Doc. No. 11] be, and the same hereby

is, ADOPTED; and it is further

       ORDERED that Plaintiffs' Request for Default Judgment and Order of Forfeiture [Doc.

No. 8] be, and the same hereby is, GRANTED;and it is further
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